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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO: 0:22-CV-61828

 VANGUARD PLASTIC SURGERY, PLLC,
 d/b/a VANGUARD AESTHETIC AND
 PLASTIC SURGERY, a Florida professional
 limited liability company,

           Plaintiff,

 vs.

 CIGNA HEALTH AND LIFE INSURANCE
 COMPANY, a foreign corporation,

       Defendant.
 ________________________________________/

                              COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff, Vanguard Plastic Surgery, PLLC, d/b/a Vanguard Aesthetic & Plastic Surgery

 (“Plaintiff”), sues Defendant, Cigna Health and Life Insurance Company (“Defendant”), and

 alleges as follows:

                                                NATURE OF ACTION

           1.           This action arises under Florida state law in connection with Defendant’s failure to

 pay all amounts due and owing to Plaintiff for medical services rendered to patient, S.S.

 (“Patient”), who was at all material times a member of a group health insurance policy issued

 and/or administered by Defendant (the “Policy”).

           2.           Plaintiff provided medically necessary services to Patient consisting of two

 extensive, complex surgical procedures relating to a traumatic boating accident in which the boat

 on which Patient was travelling exploded, causing Patient to suffer significant injuries, including

 traumatic amputations of her extremities, and develop associated complications, including renal


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 failure and rhabdomyolysis (a medical condition that can be fatal or result in permanent disability).

           3.           Due to Patient requiring guillotine amputations for her traumatic injuries and

 significant treatment as a result of Patient being grossly unhealthy given the nature of Patient’s

 injuries at the time Patient presented to Broward Health Medical Center (“BHMC”), Patient

 required multiple surgical interventions by multiple different specialists to relieve or eliminate the

 conditions for which Patient first presented for treatment and/or those that developed during the

 course of Patient’s treatment

           4.           The surgical procedures Plaintiff’s specialists performed on Patient included: (1)

 extensive excisional debridement on Patient’s right and left legs, removal of unhealthy medical

 gastroc muscle on Patient’s left leg, and readvancement of the gastroc muscles and application of

 VAC dressings on both the right and left legs; and (2) extensive excisional debridement,

 advancement and rotation of muscles and muscles flaps, and split-thickness skin grafting on

 Patient’s right leg, left leg, and left arm; local tissue rearrangement and application of VAC

 dressings on Patient’s right and left legs; and other related procedures (collectively, the

 “Surgeries”).

           5.           Plaintiff is not attempting to stand in the shoes of Patient and does not seek to

 enforce any rights under any health insurance policy issued, operated, and/or administered by

 Defendant. Rather, Plaintiff is asserting independent claims under Florida state law: (a) for breach

 of an express written contract (i.e., the TRPN Agreement, as defined below), pursuant to which

 Defendant agreed to pay Plaintiff directly for such services at a discounted rate (i.e., the TRPN

 Network Savings Rate, as defined below); and (b) in the alternative, for promissory estoppel,

 breach of implied-in-fact contracts, and unjust enrichment, pursuant to which Defendant is

 obligated to reimburse Plaintiff for the reasonable fair market value of such services.


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                                                         PARTIES

           6.           Plaintiff is a Florida professional limited liability company with its principal place

 of business located in Broward County, Florida, and is sui juris in all respects.

           7.           Upon information and belief, Defendant is a foreign for-profit corporation with its

 principal place of business located in Bloomfield, Connecticut, and is sui juris in all respects.

                                             JURISDICTION AND VENUE

           8.           This Court possesses original jurisdiction pursuant to 28 U.S.C. § 1332, as the

 parties are diverse and the amount in controversy exceeds $75,000, exclusive of costs and interest.

           9.           Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because: (a) a

 substantial part of the events or omissions giving rise to this action occurred in this jurisdiction,

 the subject medical procedures were provided in this jurisdiction, and Defendant’s underpayment

 of the associated claims unfolded in this jurisdiction, and (b) this Court has personal jurisdiction

 due to Defendant’s minimum contacts in this forum.

                                              GENERAL ALLEGATIONS

           10.          Plaintiff, through its physicians, provides medical services, including emergency

 services and care, reconstruction services, and other surgical services, to patients in Broward

 County, Florida, including at BHMC.

           11.          Plaintiff’s physicians are licensed medical doctors practicing in the State of Florida.

           12.          Plaintiff’s physicians are board-certified plastic surgeons who perform skin grafts,

 flap procedures, microsurgeries, and other surgical services that allow for complex repair of human

 tissue after trauma, cancer, or congenital defects.

           13.          Upon information and belief, Plaintiff’s physicians, who are fellowship-trained and

 who specialize in microsurgery, are the only plastic surgeons at BHMC with those qualifications.


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           14.          At all material times, Defendant was authorized to and engaged in the business of

 selling insurance, administering insurance, and/or deciding and paying insurance claims (i.e.,

 claim administration) throughout the State of Florida, including Broward County, Florida.

           15.          Upon information and belief, at all material times, Defendant was the claims

 administrator of the Policy, responsible for administering and/or paying claims for medical

 services provided to Patient.

           16.          At all material times, Defendant collected premiums, fees, and/or other forms of

 compensation in return for agreeing to properly reimburse providers (like and including Plaintiff)

 that render medical services to Patient and Defendant’s other members.

           17.          In exchange for premiums, fees, and/or other forms of compensation, Defendant is

 obligated to pay for the covered medical services received by Patient and Defendant’s other

 members.

           18.          Upon information and belief, BHMC is and was at all material times “in-network”

 with Defendant.

           19.          Managed care organizations, like and including Defendant, are required to maintain

 an adequate number and type of providers within their networks to ensure that their members have

 access to and receive medically necessary without unreasonable delay or burden.

           20.          To ensure that Patient and Defendant’s other members can access and receive

 medical care without unreasonable delay or burden, Defendant: (a) maintains a network of

 healthcare providers and medical facilities that provide medical services to Defendant’s members

 (commonly referred to as “in-network” medical providers/medical facilities); and (b) has entered

 into separate contractual relationships with medical providers that were not “in-network” with

 Defendant—especially those “out-of-network” providers (like and including Plaintiff) that provide


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 complex medically necessary treatments at “in-network” facilities (like and including BHMC) —

 through supplemental “shared savings” networks (like and including the Three Rivers Provider

 Network).

                 The TRPN Network Savings Agreement and the Parties’ Course of Dealings

           21.          At all material times, Plaintiff was a provider in network savings programs (i.e.,

 shared savings networks), including the Three Rivers Provider Network (“TRPN”).1

           22.          On or about July 1, 2015, Plaintiff and Defendant, through Defendant’s duly

 authorized agent, TRPN, entered into a contract setting forth Plaintiff’s and Defendant’s rights and

 obligations relating to the parties’ participation in TRPN (the “Network Savings Agreement”).

           23.          The Network Savings Agreement provides that “TRPN contracts with insurance

 companies, third party administrators, health plans, individuals and entities that directly or

 indirectly access TRPN contracted providers for covered services,” which it refers to as “Clients”

 (each, a “TRPN Client”).

           24.          TRPN disclosed and otherwise provided Plaintiff with a list of all TRPN Clients

 (the “Payer List”) that agreed to participate in TRPN and/or subject themselves to the terms of the

 Network Savings Agreement.

           25.          At all material times, Defendant was specifically identified in the Payer List as

 being a TRPN Client that had: (a) contracted with TRPN for the purpose of directly or indirectly

 accessing Plaintiff to provide “covered services” to Patient and Defendant’s other members; (b)

 retained TRPN as Defendant’s billing intermediary to negotiate a reasonable reimbursement rate

 for all medically necessary services provided by Plaintiff; (c) expressly agreed to participate in




 1
   These are also referred to as “rental networks,” “medical discount networks,” “repricing
 agreements,” and various other names.
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 TRPN; and/or (d) agreed to be subject to and otherwise bound by the terms of the Network Savings

 Agreement.

           26.          At all material times, Defendant, through TRPN: (a) procured discounted rates from

 Plaintiff on Defendant’s behalf; (b) obtained the right for Defendant the right to access Plaintiff at

 a negotiated, discounted rate of reimbursement for all medically necessary services Plaintiff

 provided to Patient; (c) allowed Defendant to meet its statutory obligations to provide coverage

 for emergency medical services; and/or (d) allowed Patient to avoid being subject to balance billing

 for the services that Plaintiff provided to Patient.

           27.          Moreover, TRPN advertises and otherwise represents that it is “a billing

 intermediary tasked with negotiating a reasonable reimbursement rate between the payer and the

 provider, all while protecting the patient from balance billing.” See https://trpnppo.com (last

 visited Sept. 26, 2022).

           28.          TRPN also represents that it “partners” with TRPN Clients (like and including

 Defendant) on its website. See https://trpnppo.com/about-us (last visited Sept. 26, 2022) (“Contact

 TRPN and let us demonstrate to you how we will partner with your company and bridge the

 administrative gap between Healthcare Payers and Providers. You will get access to the largest,

 most comprehensive provider network in the nation.”) (emphasis added).

           29.          Accordingly, TRPN was an agent for Defendant and entered into the Network

 Savings Agreement on Defendant’s behalf and with Defendant’s authority.

           30.          At all material times, Plaintiff reasonably believed that TRPN had authority to act

 as Defendant’s agent in negotiating and entering into the Network Savings Agreement on behalf

 of Defendant.

           31.          TRPN notified Plaintiff that, at all material times, Defendant was and is a disclosed


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 principal to the Network Savings Agreement. Additionally, or in the alternative, the disclosure of

 Defendant as a “TRPN Client” subject to the Network Savings Agreement expressed an intent by

 the parties to the Network Savings Agreement that said contract would confer a primary and direct

 benefit upon Defendant.

           32.          Pursuant to its participation in TRPN and/or Network Savings Agreement, each

 TRPN Client (like and including Defendant) agreed to pay certain “out-of-network” medical

 providers (like and including Plaintiff) for any “covered services” provided to members enrolled

 under an insurance policy issued and/or administered by said TRPN Client (like and including

 Patient) at a seven percent (7%) discount for all billed charges, less any applicable patient

 responsibility amounts such as co-payments, co-insurance, or deductibles (the “TRPN Network

 Savings Rate”).

           33.          Pursuant to TRPN, the term “covered services” includes all services that are

 medically necessary.

           34.          Through TRPN, Defendant inured a direct benefit by securing discounted rates

 from Plaintiff and other providers for medical services provided to Patient and its other members.

           35.          In exchange, Plaintiff agreed not to balance bill any members enrolled under an

 insurance policy issued and/or administered by said TRPN Client (like and including Patient).

           36.          Accordingly, Defendant agreed to pay (and Plaintiff agreed to accept payment) for

 any medically necessary services that Plaintiff provided to Patient at the TRPN Network Savings

 Rate.

           37.          In other words, Defendant agreed to pay Plaintiff 93% of all billed charges for all

 medically necessary services provided to Patient, including the Surgeries.

           38.          Subsequently, Plaintiff and Defendant established a course of dealings whereby: (a)


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 Defendant reimbursed Plaintiff at the TRPN Network Savings Rate for medically necessary

 services that Plaintiff provided to other of Defendant’s members similar to the services Plaintiff

 provided to Patient in this case; and/or (b) Defendant attempted to negotiate an even lower reduced

 reimbursement amount based on the fair market or reasonable value of such services.

           39.          Further, Patient’s member ID card, issued by Defendant, indicates that Defendant

 recognizes network savings programs, like TRPN, for services provided to Patient.

           40.          As such, Plaintiff performed the Surgeries with the understanding and expectation

 that Defendant would reimburse Plaintiff for the Surgeries at rates equal to the TRPN Network

 Savings Rate or, at a minimum, at the reasonable, fair market value for such services.

           41.          Defendant therefore agreed and is obligated to reimburse Plaintiff for the Claims at

 93% of the billed charges (i.e., the TRPN Network Savings Rate) pursuant to the Network Savings

 Agreement and/or the parties’ participation in TRPN. Alternatively, Defendant is obligated to pay

 Plaintiff under the parties’ implied contracts and the doctrine of quantum meruit the reasonable

 fair market value of the services rendered.

           42.          Instead, as alleged further below, Defendant improperly failed to pay Plaintiff at

 either the TRPN Network Savings Rate or the reasonable fair market value for the services

 provided as part of the Surgeries.

                                   Initial Emergency Evaluation and Treatment

           43.          In or around July 2018, Patient was involved in traumatic boat accident while in

 the Bahamas, in which the boat on which Patient was travelling exploded and caused Patient to

 suffer significant injuries, including the partial traumatic amputation of her extremities and

 associated complications, including renal failure and rhabdomyolysis (i.e., a breakdown of muscle

 tissue that releases damaging proteins and electrolytes into the blood).


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           44.          Patient was transported to BHMC, located in Fort Lauderdale, Florida, where

 Patient presented to the BHMC emergency department with post double leg amputations,

 rhabdomyolysis, and renal failure, which conditions manifested themselves by acute symptoms of

 sufficient severity such that the absence of immediate medical attention could reasonably have

 been expected to result in serious jeopardy to Patient’s health, serious impairment to Patient’s

 bodily functions, and/or serious dysfunction of Patient’s bodily organ(s) or part(s).

           45.          Plaintiff’s physician was contacted as the on-call surgeon for care at BHMC after

 Patient first presented to the BHMC emergency department.

           46.          At that time, Plaintiff’s physician, in conjunction with other treating physicians at

 BHMC, determined that Patient suffered from emergency medical conditions, and that Patient

 required immediate medical attention to treat those conditions.

           47.          Accordingly, Patient was admitted to the intensive care unit at BHMC through the

 emergency department for additional intervention and treatment.

           48.          Upon information and belief, with full knowledge of the circumstances, Defendant:

 (i) approved of Patient’s admission to BHMC in or around July 2018 for the treatment of Patient’s

 medical conditions; (ii) approved of the provision of medical services to Patient by providers like

 Plaintiff during said hospital admission; and (c) agreed to pay Plaintiff the fair market value for

 such services.

           49.          As a result of Patient’s traumatic injuries, Patient underwent guillotine amputations

 of both legs, and attempts were made to treat Patient’s other associated conditions as necessary

 before any attempt could be made for Patient’s wound closures, which services were performed

 on an emergency or urgent basis but in a staged fashion.




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                                      July 12, 2018 Surgery (“First Surgery”)

            50.          On or about July 12, 2018, Plaintiff, through its physicians, provided medically

  necessary services to Patient at BHMC, which services consisted of a complex surgery that was

  necessary to relieve or eliminate the medical conditions for which Patient initially sought treatment

  at BHMC and/or those that developed subsequent to Patient’s admission to BHMC, including: (a)

  excisional debridement through the skin, tissue, and bone, removal of unhealthy medial gastroc

  muscle, and readvancement of gastroc muscle flap for coverage of Patient’s distal tibia on Patient’s

  left leg; (b) excisional debridement through the skin and subcutaneous tissue with a lateral gastroc

  advancement flap for attempted coverage of Patient’s open tibia on Patient’s right leg;

  (c) application of VAC dressings bilaterally; and (d) other related procedures (the “First Surgery”).

                                     July 16, 2018 Surgery (“Second Surgery”)

            51.          After the First Surgery, Patient’s condition remained unstable due in part to the

  severe nature of Patient’s traumatic injuries and associated complications; Patient continued to

  suffer from, among other things, an open fasciotomy wound of the left arm and complex wounds

  of the right and left leg, including exposed neurovascular bundles and necrotic muscle; and Patient

  remained sedated due to the severity and nature of Patient’s injuries, which conditions manifested

  themselves by acute symptoms of sufficient severity such that the absence of immediate medical

  attention could reasonably have been expected to result in serious jeopardy to Patient’s health,

  serious impairment to Patient’s bodily functions, and/or serious dysfunction of Patient’s bodily

  organ(s) or part(s).

            52.          Accordingly, on or about July 16, 2018, Patient was returned to the operating room

  at BHMC on an emergency or urgent basis to address the conditions that developed and/or

  persisted subsequent to the First Surgery.


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            53.          On or about July 16, 2018, Plaintiff, through its physicians, provided medically

  necessary services to Patient at BHMC, which services consisted of a complex surgery that was

  necessary to relieve or eliminate the medical conditions for which Patient initially sought treatment

  at BHMC and/or those that developed subsequent to Patient’s admission to BHMC, including:

  (a) posterior incision detachment and advancement of medial and lateral gastroc muscles, local

  tissue rearrangement measuring 15 cm x 20 cm with complete circumferential soft tissue stripping,

  advancement of posterior portion of Patient’s calf, excisional debridement through the skin and

  subcutaneous tissue down to the bone, split thickness skin grafting measuring 15 cm x 15 cm, and

  application of a VAC dressing on Patient’s right leg; (b) excisional debridement through the skin,

  subcutaneous tissue, fascia, and muscle, medial gastroc rotation, local tissue rearrangement of the

  medial leg with a rhomboid flap measuring 8 cm x 5 cm, split thickness skin grafting measuring

  15 cm x 20 cm, and application of a VAC dressing on Patient’s left leg; (c) excisional debridement

  through the skin, subcutaneous tissue, and muscle, rotation of muscle flap for coverage of Patient’s

  ulnar fracture, and split-thickness skin grafting of Patient’s left arm; and (d) other related

  procedures (the “Second Surgery,” and together with the First Surgery, the “Surgeries”).

                                      Defendant’s Underpayment of the Claims

            54.          Plaintiff submitted claims for reimbursement to Defendant for the services Plaintiff

  provided to Patient as part of the Surgeries (collectively, the “Claims”).

            55.          Plaintiff’s charges for the medically necessary services it provided as part of the

  First Surgery totaled $85,261.00. Defendant paid only $2,465.28 to Plaintiff for those services.

            56.          Plaintiff’s charges for the medically necessary services it provided as part of the

  Second Surgery totaled $159,829.00. Defendant paid only $4,552.95 to Plaintiff for those services.

            57.          Accordingly, Plaintiff’s total charges for the services underlying the Claims total


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  $245,090.00.

            58.          To date, Defendant has paid Plaintiff a total of $7,018.23 on the Claims,

  representing only 2.9% of Plaintiff’s total charges for the services at issue.

            59.          In connection with such payments, Defendant issued remittance notices to Plaintiff

  in Fort Lauderdale, Florida, and made the foregoing payments to Plaintiff through interstate wire.

            60.          In those remittance notices, Defendant included remarks such as: “Health care

  professional: patient is not liable for this additional amount if you accept the established

  reimbursement schedule allowed amount shown. Call Zelis…before billing the patient more than

  the amount shown as patient liability.”

            61.          Upon information and belief, Zelis Healthcare, Inc. (“Zelis”) is a repricing

  company that provides supplemental networks to payers like Defendant, and Zelis is Defendant’s

  agent duly authorized to negotiate and/or otherwise determine payment amounts due to out-of-

  network providers (like Plaintiff) when Defendant initially underpays claim submitted by those

  providers.

            62.          Notwithstanding the terms of the Network Savings Agreement, Defendant, through

  companies like Zelis, attempts to coerce out-of-network providers (like Plaintiff) to accept drastic

  underpayments on their claims and to waive any further rights to seek additional payment, so that

  Zelis and/or Defendant can “skim” a percentage of the “savings” on such claims to retain for

  themselves, thus obtaining a direct benefit from the entire transaction.

            63.          In or around October 2018, Defendant advised Plaintiff that the Claims were

  “enhanced” to an “in-network” level because Patient was admitted through the BHMC emergency

  department and the Surgeries were performed on an urgent or emergency basis, and Defendant

  directed Plaintiff to contact Zelis concerning payment on the Claims.


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            64.          At Defendant’s request, Plaintiff contacted Zelis in or around November 2018, at

  which time Zelis also informed Plaintiff that the Claims would be “enhanced” to an in-network

  level by Defendant.

            65.          By utilizing Zelis to administer the Claims, Defendant implicitly acknowledged it

  was appropriate to look outside the Policy in administering those Claims, either through TRPN,

  the “enhancement” of Plaintiff to an in-network level, or otherwise.

            66.          Notwithstanding Defendant’s and Zelis’s representations, no “enhancement” was

  made on the Claims.

            67.          Defendant further included remarks on the remittance documents for the Claims

  with directions for Patient to “call [Defendant] if billed more than the ‘what I owe’ amount” by

  Plaintiff. The only basis for this representation would be an agreement between Plaintiff and

  Defendant pursuant to which Plaintiff agreed not to balance bill Patient, as there is no other

  agreement limiting Plaintiff’s ability to balance bill the Patient.

            68.          Indeed, after Defendant’s initial underpayment on the Claims, Defendant advised

  Plaintiff’s representatives that Defendant would agree to reprocess the Claims correctly and on an

  expedited basis if Plaintiff provided a “patient statement” indicating what Patient’s responsibility

  would have been if Patient were balance billed on the Claims.

            69.          In turn, Plaintiff provided Defendant with said “patient statement” indicating that

  Patient would be responsible for over $238,000.00 as a balance bill on the Claims if Plaintiff were

  to balance bill Patient; however, Defendant still refused to reprocess the Claims correctly.

            70.          Plaintiff performed the Surgeries, and submitted the Claims, with the understanding

  and expectation that Defendant would reimburse Plaintiff for the services provided to Patient at

  the TRPN Network Savings Rate or, in the alternative, at the reasonable fair market value of such


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  services.

            71.          Plaintiff’s understanding and expectation in this regard was based upon, among

  other things: (a) negotiations regarding the proposed terms of the Network Savings Agreement;

  (b) Defendant’s promise (through its authorized agent, TRPN) to reimburse Plaintiff for “covered

  services” (i.e., medical necessary services) that it provides to Patient and other of Defendant’s

  members at the TRPN Network Savings Rate; (c) Defendant’s course of dealings with Plaintiff,

  whereby Defendant agreed to and in fact did reimburse Plaintiff at the TRPN Network Savings

  Rate or, alternatively, at the fair market or reasonable value, for similar services provided to

  Defendant’s other members; (d) Defendant’s obligation to ensure that Patient and Defendant’s

  other members could access and receive medically necessary care from providers without

  unreasonable delay or burden; (e) representations by Defendant (directly and/or through its agent,

  Zelis) that Defendant would “enhance” the Claims to an in-network level; ) (f) verbiage contained

  in the remittance notices issued by Defendant to Plaintiff in connection with processing the Claims

  that directed Patient not to balance bill Patient; (f) verbiage contained in the remittance notices

  issued by Defendant to Patient advising Patient to contact Defendant if Patient was balance billed

  on the Claims; and/or (g) Defendant’s adjudication of the Claims, which determined that the

  services underlying the Claims were “covered services” (i.e., medically necessary).

            72.          At all material times, Defendant was and is aware that Plaintiff provided medical

  services to Patient and billed Defendant for same with the expectation and understanding that its

  services had been approved by Defendant and that it would be reimbursed by Defendant at rates

  reflecting the TRPN Network Savings Rate applicable to the services provided to Patient, or

  alternatively, at rates reflecting the fair market or reasonable value of such services.

            73.          Defendant ultimately adjudicated the Claims and determined that the services


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  underlying the Claims were covered (i.e., medically necessary) services.

            74.          After adjudicating the Claims, Defendant provided coverage and paid for the

  Claims, albeit at rates: (a) below Plaintiff’s billed charges; (b) below the TRPN Network Savings

  Rate; (c) below “enhanced” in-network levels; and/or and (d) below the reasonable fair market

  value for the services underlying the Claims.

            75.          The rates at which Defendant paid Plaintiff are less than the rates Plaintiff received

  during the same time period from other, similar managed care organizations for similar services

  provided in the same community.

            76.          The difference between the amounts Defendant paid and Plaintiff’s billed charges

  totals $238,071.77.

            77.          All necessary conditions precedent to Plaintiff bringing this action have occurred

  or were performed, excused, and/or waived.

                                                   COUNT I
                           Breach of Express Contract – Network Savings Agreement
                                        Alternative to Remaining Counts

            78.          Plaintiff re-alleges and incorporates by reference paragraphs 1 through 77 above.

            79.          This is an action for monetary damages against Defendant for its breach of the

  Network Savings Agreement.

            80.          As set forth in detail above, with full knowledge and intent, the parties duly

  negotiated and entered into the Network Savings Agreement.

            81.          Pursuant to the Network Savings Agreement, Defendant promised and was, at all

  material times, contractually obligated to reimburse Plaintiff for the medical services that it

  provided to Patient as part of the Surgeries at the TRPN Network Savings Rate (i.e., 93% of

  Plaintiff’s billed charges).


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            82.          Plaintiff did, in fact, provide medically necessary services to Patient as part of the

  Surgeries and submitted the Claims to Defendant with the understanding and expectation that

  Defendant would reimburse Plaintiff for such services at the TRPN Network Savings Rate.

            83.          Plaintiff fully performed in accordance with the terms of the Network Savings

  Agreement.

            84.          As set forth in detail above, however, Defendant materially breached the Network

  Savings Agreement by failing and/or refusing to fully pay Plaintiff for all services that Plaintiff

  provided as part of the Surgeries at the TRPN Network Savings Rate.

            85.          Defendant has refused to cure and/or remedy the foregoing breach, although duly

  demanded.

            86.          As a direct and proximate result of Defendant’s breach of the Network Savings

  Agreement, Plaintiff has been damaged.

                         WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant

  and in favor of Plaintiff for all direct, incidental, and consequential damages; costs; all applicable

  interest; and for such other and further relief that this Court may deem just and proper.

                                               COUNT II
                   Breach of Implied-in-Fact Contract – Network Savings Agreement
                                    Alternative to Remaining Counts

            87.          Plaintiff re-alleges and incorporates by reference paragraphs 1 through 21, 24

  through 28, and 32 through 77 above.

            88.          This Count II is plead in the alternative to all remaining counts.

            89.          At all material times, Defendant defined “participating providers” to include both

  “in-network” providers with which Defendant has a direct contractual relationships and providers

  that are “out-of-network” with Defendant but with which Defendant has an indirect contractual


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  relationship, i.e., providers who participate in network savings programs like and including TRPN.

            90.          At all material times, Plaintiff was a provider in the TRPN network savings

  program, and Defendant was a TRPN Client. Defendant therefore recognized Plaintiff as a

  “participating provider.”

            91.          As described in detail above, Plaintiff has conferred a direct benefit on Defendant

  by, among other things: (a) providing Defendant with access to “out-of-network” medical services

  provided by Plaintiff at a discounted rate, thereby making Defendant a more attractive option to

  potential customers by enhancing Defendant’s networks; (b) ensuring that Patient (and Defendant’s

  other members) have prompt and reasonable access to “out-of-network” medical providers like

  Plaintiff for which Defendant is legally obligated to provide coverage and pay; (c) agreeing to

  provide discounted rates for services provided to Patient, thereby reducing the amount of

  Defendant’s financial liability for those services; (d) allowing Defendant to meet its statutory

  obligations to provide coverage for emergency medical services; and/or (e) allowing Patient to

  avoid being subject to balance billing for the services provided as part of the Surgeries, thereby

  eliminating complaints by Patient that would have occurred had Plaintiff instead sought the

  balance of its bill from Patient.

            92.          Defendant approved of Patient’s admission to BHMC and approved of the

  provision of medical services to Patient by providers like Plaintiff as detailed above.

            93.          At the time Defendant approved of the provision of medical services to Patient by

  providers like Plaintiff, Defendant knew or should have known that Plaintiff was a contracted

  provider with TRPN and that the Network Savings Agreement requires payment at 93% of

  Plaintiff’s billed charges.

            94.          As described above, Defendant tacitly promised to pay Plaintiff for the Surgeries at


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  the TRPN Network Savings Rates by, among other things: (a) defining “participating providers”

  to include providers who participate in network savings program like TRPN; (b) contracting with

  TRPN to be a TRPN Client; (c) permitting itself to be listed as a TRPN Client on the TRPN Payer

  List; (d) issuing a member ID card to Patient stating that it recognized network savings programs

  like TRPN for services rendered to Patient; (e) approving of Patient’s admission to BHMC and the

  provision of medical services to Patient by providers like Plaintiff during that admission; and/or

  (f) paying Plaintiff for services provided to other members of Defendant at the TRPN Network

  Savings Rates.

            95.          In exchange, Plaintiff agreed to: (a) accept discounted rates for all medically

  necessary services that it provides to Patient (and Defendant’s other members); and/or (b) not

  balance bill Patient (and/or other members enrolled under an insurance policy issued and/or

  administered by Defendant).

            96.          Defendant in fact recognized the existence of the parties’ implied-in-fact contract

  by directing Plaintiff not to balance bill the Patient and by advising Patient to contact Defendant

  if Patient was balance billed.

            97.          Moreover, the course of dealing between the parties was such that Defendant often

  paid Plaintiff at the TRPN Network Savings Rate for similar services that Plaintiff provided to

  Defendant’s other Policy members, thereby establishing a common basis of understanding between

  the parties that Defendant would pay Plaintiff for the Surgeries at issue in this case at the TRPN

  Network Savings Rate.

            98.          Defendant therefore knew or should have known that Plaintiff was conferring the

  above benefits with the expectation that it would be reimbursed by Defendant for same at the

  TRPN Network Savings Rate or the reasonable/fair market value of same.


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            99.          Plaintiff fully performed its obligations under the parties’ contract by performing

  the Surgeries and by not balance billing Patient on the Claims.

            100.         As set forth in detail above, however, Defendant materially breached the parties’

  agreement by failing and/or refusing to fully pay Plaintiff for all services that Plaintiff provided as

  part of the Surgeries at the TRPN Network Savings Rate.

            101.         Defendant has refused to cure and/or remedy the foregoing breach, although duly

  demanded.

            102.         As a direct and proximate result of Defendant’s breach of the parties’ implied-in-

  fact contract (i.e., Defendant’s tacit promise to pay Plaintiff at the TRPN Network Savings Rate),

  Plaintiff has been damaged.

            WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant and in

  favor of Plaintiff in an amount representing the difference between the amounts Defendant paid to

  Plaintiff for the Surgeries and the TRPN Network Savings Rate, together with an award of all

  applicable interest, costs, and such other and further relief as the Court may deem just and proper.

                                                     COUNT III
                                                Promissory Estoppel
                                           Alternative to Remaining Counts

            103.         Plaintiff re-alleges and incorporates by reference paragraphs 1 through 21, 24

  through 28, and 32 through 77 above.

            104.         This Count III is pled in the alternative to all remaining counts.

            105.         As described in detail above, Defendant (directly and/or through its authorized

  agent, TRPN) promised to pay Plaintiff for any medically necessary services (like and including

  the Surgeries) that Plaintiff provided to Defendant’s members (like and including Patient) at the

  TRPN Network Savings Rate.


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            106.         Defendant further promised to pay Plaintiff at the TRPN Network Savings Rate by

  issuing a member ID card to Plaintiff representing that Defendant recognizes network savings

  programs, like TRPN, for services provided to Patient.

            107.         At all material times, Defendant knew (or had reason to know) that Plaintiff was

  reasonably relying upon Defendant’s promise in that regard by providing medical services to

  Defendant’s members with the reasonable expectation and understanding that it would be

  reimbursed by Defendant at the TRPN Network Savings Rate.

            108.         Plaintiff did, in fact, reasonably rely on Defendant’s promise to reimburse Plaintiff

  at the TRPN Network Savings Rate by, among other things, agreeing to provide services to Patient

  as part of the Surgeries, to its detriment.

            109.         By preauthorizing the Surgeries and related admissions to BHMC, Defendant knew

  and approved of Plaintiff providing medical services to Patient as part of the Surgeries.

            110.         Based upon Defendant’s representations and Plaintiff's reasonable reliance on those

  representations, Defendant is estopped from repudiating and/or denying the terms of the agreement

  described above.

            111.         Defendant knew or should have known that Plaintiff would reasonably rely upon

  Defendant’s promise to reimburse Plaintiff at the TRPN Network Savings Rate for the services it

  provided to Patient as part of the Surgeries.

            112.         Defendant failed to reimburse Plaintiff at the promised TRPN Network Savings

  Rate for the services that Plaintiff provided as part of the Surgeries.

            113.         As a result of Defendant refusing to reimburse Plaintiff for the Surgeries at the

  TRPN Network Savings Rate, Plaintiff has suffered injury and is entitled to monetary damages

  from Defendant.


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            114.         Under the circumstances set forth above, it is unjust and inequitable for Defendant

  to refuse to honor its promise to pay Plaintiff for the Surgeries at the TRPN Network Savings Rate.

            115.         Injustice can be avoided only by enforcement of Defendant’s promise to pay

  Plaintiff at the TRPN Network Savings Rate through the doctrines of promissory estoppel.

            WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant and in

  favor of Plaintiff in an amount representing the difference between the amounts Defendant paid to

  Plaintiff for the Surgeries and the TRPN Network Savings Rate, together with an award of all

  applicable interest, costs, and such other and further relief as the Court may deem just and proper.

                                                  COUNT IV
                            Breach of Implied-in-Fact Contract – Fair Market Value
                                        Alternative to Remaining Counts

            116.         Plaintiff re-alleges and incorporates by reference paragraphs 1 through 21, 26, 38,

  and 40 through 77 above.

            117.         This Count IV is pled in the alternative to all remaining counts.

            118.         As described in detail above, Plaintiff has conferred a direct benefit on Defendant

  by: (a) providing Defendant with access to “out-of-network” medical services provided by Plaintiff

  at a discounted rate, thereby making Defendant a more attractive option to potential customers by

  enhancing Defendant’s networks; (b) ensuring that Patient (and Defendant’s other members) have

  prompt and reasonable access to “out-of-network” medical providers like Plaintiff for which

  Defendant is legally obligated to provide coverage and pay; (c) agreeing to provide discounted

  rates for services provided to Patient, thereby reducing the amount of Defendant’s financial

  liability for those services; (d) allowing Defendant to meet its statutory obligations to provide

  coverage for emergency medical services; and/or (e) allowing Patient to avoid being subject to

  balance billing for the services provided as part of the Surgeries, thereby eliminating complaints


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  by Patient that would have occurred had Plaintiff instead sought the balance of its bill from Patient.

            119.         Upon information and belief, Defendant: (a) approved of Patient’s admission into

  BHMC for the treatment of Patient’s medical conditions; (b) approved of the provision of medical

  services to Patient by providers like and including Plaintiff during that admission; and (c) tacitly

  agreed to pay Plaintiff the reasonable value for the services rendered to Patient as part of the

  Surgeries.

            120.         In exchange, Plaintiff agreed to perform the Surgeries on Patient and not to balance

  bill Patient for the Surgeries.

            121.         Defendant in fact recognized the existence of the parties’ implied-in-fact contract

  by directing Plaintiff not to balance bill the Patient, by advising Patient to contact Defendant if

  Patient was balance billed, and by agreeing the “enhance” payment on the Claims.

            122.         Defendant further acknowledged its obligation and responsibility for payment and

  its approval of Plaintiff’s performing medical services as part of the Surgeries by paying the Claims

  for those services and/or issuing remittance notices to Plaintiff reflecting allowed amounts for

  those services, albeit at rates far below that to which Plaintiff is entitled.

            123.         Moreover, the course of dealing between the parties was such that Defendant often

  paid Plaintiff at the fair market or reasonable value for similar services that Plaintiff provided to

  Defendant’s other Policy members, thereby establishing a common basis of understanding between

  the parties that Defendant would pay Plaintiff for the Surgeries at issue in this case at the fair

  market or reasonable value of same.

            124.         Defendant therefore knew or should have known that Plaintiff was conferring the

  above benefits with the expectation that it would be reimbursed by Defendant for same at the fair

  market or reasonable value of same.


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            125.         Plaintiff fully performed its obligations under the parties’ implied-in-fact contract

  by performing the Surgeries and by not balance billing Patient for the Surgeries.

            126.         As set forth above, however, Defendant materially breached the parties’ agreement

  by failing and/or refusing to pay Plaintiff the fair market or reasonable value for all services that

  Plaintiff provided as part of the Surgeries.

            127.         Defendant has refused to cure and/or remedy the foregoing breach, although duly

  demanded.

            128.         As a direct and proximate result of Defendant’s breach of the parties’ implied-in-

  fact contract (i.e., Defendant’s tacit promise to pay Plaintiff at the fair market or reasonable value),

  Plaintiff has been damaged.

            129.         The circumstances are such that it would be inequitable for Defendant to retain the

  aforementioned benefits without paying fair value for same.

            WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant and in

  favor of Plaintiff in an amount representing the difference between the amounts Defendant paid to

  Plaintiff for the claims at issue and the fair market or reasonable value of the medical services

  underlying those claims, as determined by the finder of fact, together with an award of all

  applicable interest, costs, and such other and further relief as the Court may deem just and proper.

                                                     COUNT V
                                            UNJUST ENRICHMENT
                                          Alternative to Remaining Counts

            130.         Plaintiff re-alleges and incorporates by reference paragraphs 1 through 21, 26, 34,

  38, and 40 through 77 above.

            131.         This Count V is pled in the alternative to all remaining counts.




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            132.         Under established Florida precedent, Plaintiff conferred a direct benefit on

  Defendant by providing valuable medical services to Patient as part of the Surgeries, with the

  knowledge and/or approval of Defendant. See Merkle v. Health Options, Inc., 940 So. 2d 1190,

  1199 (Fla. 4th DCA 2006), rev. denied, 962 So. 2d 336 (Fla. 2007); Shands Teaching Hosp. &

  Clinics, Inc. v. Beech St. Corp., 899 So. 2d 1222, 1228 (Fla. 1st DCA 2005).

            133.         More particularly, as described in detail above, Plaintiff has conferred a direct

  benefit on Defendant by: (a) providing Defendant with access to “out-of-network” medical

  services provided by Plaintiff at a discounted rate, thereby making Defendant a more attractive

  option to potential customers by enhancing Defendant’s networks; (b) ensuring that Patient (and

  Defendant’s other members) have prompt and reasonable access to “out-of-network” medical

  providers like Plaintiff for which Defendant is legally obligated to provide coverage and pay; (c)

  agreeing to provide discounted rates for services provided to Patient, thereby reducing the amount

  of Defendant’s financial liability for those services; (d) allowing Defendant to meet its statutory

  obligations to provide coverage for emergency medical services; (e) allowing Patient to avoid

  being subject to balance billing for the services provided as part of the Surgeries, thereby

  eliminating complaints by Patient that would have occurred had Plaintiff instead sought the

  balance of its bill from Patient; and/or (f) providing said benefits through an intermediary third

  party (i.e., TRPN).

            134.         Plaintiff’s provision of covered of such medical services to Patient further

  benefitted Defendant because it offered a more permanent and/or more beneficial solution to the

  medical conditions for which Patient initially sought treatment on the dates set forth above,

  negating Patient’s need to seek additional medical treatment in the future for which Defendant

  would be financially liable. In other words, by minimizing (if not entirely eliminating) Patient’s


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  future medical expenses, and thus medical claims to Defendant, including expenses and claims for

  prolonged alternative treatments or additional medical services or complications arising from an

  inferior treatment regimen, which claims and expenses Defendant would be responsible for

  administering and paying, Plaintiff conferred a benefit directly on Defendant.

            135.         Defendant acknowledged, accepted, and retained the benefits so conferred from

  Plaintiff’s providing such medical services to Patient as part of the Surgeries, because it allowed

  Defendant to fulfill its legal obligations to: (a) provide Patient with coverage for all stages of

  reconstruction in connection with Patient’s mastectomies and for prostheses and physical

  complications thereof; and (b) ensure that its members, like and including Patient, have access to

  and receive medically necessary care without unreasonable delay or burden.

            136.         Defendant has failed to pay the reasonable value of the benefit conferred upon it by

  Plaintiff, in this case, the reasonable value of the services provided to Patient as part of the

  Surgeries.

            137.         By refusing to pay Plaintiff appropriately, Defendant has been unjustly enriched.

            138.         The circumstances are such that it would be unjust and inequitable for Defendant

  to retain the direct benefit conferred on it by Plaintiff without paying the fair market or reasonable

  value of same.

            139.         Plaintiff seeks compensatory damages, as permitted by applicable law, in an amount

  equal to the difference between the amounts Defendant paid to Plaintiff for the Claims and the fair

  market or reasonable value of the medical services underlying the Claims, plus interest.

            WHEREFORE, Plaintiff prays that this Court enter a judgment against Defendant and in

  favor of Plaintiff in an amount representing the difference between the amounts Defendant paid to

  Plaintiff for the claims at issue and the fair market or reasonable of the medical services underlying


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  those claims, as determined by the finder of fact, together with an award of all applicable interest,

  costs, and such other and further relief as the Court may deem just and proper.

                                        DEMAND FOR JURY TRIAL

            Plaintiff demands a trial by jury of all issues so triable.

  DATED:                 September 28, 2022.
                         Boca Raton, FL
                                                       Respectfully submitted,

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